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                                   Table of Exhibits
Exhibit                                 Exhibit Description
Number
  1.      Secretary of Defense Message to the Force (Aug. 9, 2021)
  2.      Secretary of Defense Memorandum For Senior Pentagon Leadership,
          Commanders of the Combatant Commands, Defense Agency and DoD Field
          Activity Directors (Aug. 24, 2021)
   3.     Congressional Research Service, Defense Health Primer: Military Vaccinations
   4.     Department of Defense Instruction (“DoDI”) 6205.02
   5.     Air Force Instruction (“AFI”) 48-110_IP
   6.     Secretary of the Air Force Memorandum for Department of the Air Force
          Commanders (Sept. 3, 2021)
   7.     Secretary of the Air Force Memorandum for ALMAJCOM-FLDCOM-FOA-
          DRU/CC (Dec. 7, 2021)
   8.     Declaration of Peter Marks (filed in Robert v. Austin, 21-cv-02228 (D. Colo.))
   9.     Declaration of Colonel Tonya Rans
   10.    Declaration of Major Scott Stanley
   11.    Declaration of Colonel Artemio C. Chapa
   12.    Declaration of Major Matthew J. Streett
   13.    Declaration of Colonel Elizabeth M. Hernandez
   14.    Declaration of Lieutenant Colonel Ethel M. Watson
   15.    Declaration of Lieutenant Colonel Nekitha M. Little
   16.    Declaration of Colonel James R. Poel
   17.    Declaration of Colonel Ashley Heyen
   18.    Declaration of Colonel Richard M. Heaslip
   19.    Declaration of Colonel Donald F. Wren
   20.    Declaration of Colonel Paul K. Harmer
   21.    Declaration of Colonel Deedrick L. Reese
   22.    Declaration of Lieutenant Colonel Nicholas M. Pulire
   23.    Declaration of Lieutenant Colonel Justin L. Long
   24.    Letter from SSgt. Adam P. Theriault
